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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY


       RAVIV AZIZBAYEV,

                      Plaintiff                                       Docket No.: 19-cv-5399

              V.
                                                                             OPINION
       TRANSWORLD SYSTEMS, INC., et at.,

                      Defendants.


             WILLIAM J. MARTINI, U.S.D.J.:
            Plaintiff Ravil Azizbayev (“Plaintiff’) brings this putative class action against
     Defendant Transworld Systems, Inc. (“Defendant”) for violations of the Fair Debt Collection
     Practices Act (“FDCPA”). The matter comes before the Court on Defendant’s motion to
     dismiss. ECF No. 5. For the reasons set forth below, Defendant’s motion is DENIED
     WITHOUT PREJUDICE and the matter is STAYED.
      I.    BACKGROUND
             According to the Complaint, Defendant is a “debt collector” within the meaning of the
     FDCPA. Compi. ¶ $ (citing 15 U.S.C. § 1692(a)(6)). Defendant contracted with MSHQ
     Professional Billing (“MSHQ”) to collect a debt Plaintiff owed to MSHQ. Id. 25. In March
                                                                                      ¶
     2018, Defendant sent Plaintiff a letter (“Letter”) regarding the debt owed. Id. 27. The Letter
                                                                                    ¶
     allegedly “does not meet the required guidelines of the FDCPA, as interpreted by the Third
     Circuit, because it falsely omits the requirement. that a consumer must dispute [her debt]
                                                         .   .



     in writing.” Id. ¶ 35-36 (citing 15 U.S.C. § 1692g(a)(3)). For the same reasons, Defendant
     allegedly violated 15 U.S.C. § 1692e’s ban on the use of false, deceptive, or misleading means
     in connection with the collection of any debt. Compi. ¶ 43.
              Now before the Court is Defendant’s motion to dismiss. ECF No. 5. Defendant argues
     that the Letter complies with the requirements of 15 U.S.C. § 1692g because it is almost
     identical to the FDCPA’s statutory language and thus, Defendant cannot be liable for
     section 1692g or derivative section 1692e violations. Mot. at 4, 15. Defendant cites a series
     of district court cases within the Third Circuit in accord. Id. at 7-15. Alternatively, Defendant
     argues the FDCPA is unconstitutionally vague. Id. at 16. Plaintiff opposes the motion, citing
     a string of cases holding that debt collection letters almost identical to the Letter here (which
     also track the statutory language) violate the FDCPA. Opp. at 5-11, ECF No. 9.
             On May 6, 2019, the United States Government filed a letter (1) requesting to be
     notified if the Court decides to take up Defendant’s constitutional arguments and (2) urging
     the Court to withhold decision pending resolution of similar matters currently on appeal. Gov.
     Ltr. at 2-3, ECF No. 10. Defendant subsequently filed a reply brief, largely repeating his prior
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 arguments, ECF No. 11, and a letter notifying the Court of additional precedent from Judge
 Arleo. ECF No 12.
 II.    DISCUSSION
         This case centers on whether the Letter appropriately mentioned that a debt dispute
 must be in writing. Courts within the Third Circuit have gone both ways when presented with
 language practically identical to the Letter. Compare Henry v. Radius Glob. Sots., 357 F.
 Supp. 3d 446, 457-58 (E.D. Pa. Jan. 18, 2019) (finding violation despite language tracking
 FDCPA); Cadilto v. Stoneleigh Recovery Assocs., No. 2:17-cv-7472, 2019 WL 1091391, at
 *4..5 (D.N.J. Mar. 8,2019) (same); Dtirnell v. Stoneleigh Recoven’Assocs., 18-cv-2335, 2019
 WL 121197, at *1 (ED. Pa. Jan. 7, 2019) (same), with Borozan v. fin. Recovery Servs., Inc.,
 l7-cv-1l542, 2018 WL 3085217, at *6 (D.N.J. June 22, 2018) (upholding notice tracking
 statutory language); Portela v. DiversUled Consultants, Inc., l7-cv-03431, 2019 WL 449198,
 at *6 (D.N.J. Feb. 5, 2019) (same).
        Fortunately, the Third Circuit will soon resolve the issues pending before this Court.
 Judge Wigenton recently certified interlocutory appeal for review of a notice practically
 identical to the one here. See Cadillo, LLC, 2019 WL 1091391, at *6. Other district court
 decisions addressing the same issues are currently on appeal. See, e.g., Bencosme v. Caine &
  Weiner, 1 8-cv-07990, ECF Nos. 20-22 (order and notice of appeal); Borozan, 1 7-cv- 11542,
 ECF No. 17 (notice of appeal). Judicial economy will best be served by waiting for the Third
 Circuit to resolve the conflicting district court decisions. Continuing to litigate this same issue
 piecemeal, at great time, cost, and expense to the Court, debt collectors, and consumers alike
 is impracticable. Therefore, this case will be STAYED. See Landis v. N. Am. Co., 299 U.s.
 248, 254—55 (1936) (describing inherent power of district court to stay proceedings).
III.    CONCLUSION
        For the reasons set forth above, Defendant’s motion to dismiss, ECF No. 5, is
 DENIED WITHOUT PREJUDICE and the matter is STAYED. An appropriate order
 follows.




Date: May 23, 2019                           .‘      WflJMJ. MARTINI, U.S.D.J.




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